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&nbsp;

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In The

Court of
Appeals

For The

First District
of Texas

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NO. 01-10-00443-CV

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ROBERT B.
TAYLOR AND R.B.T. INVESTMENTS, INC. F/K/A GULF OXYGEN COMPANY, INC., Appellants

V.

CECIL O. JOINER, INSURANCE ASSOCIATES
OF TEXAS AND JOSEPH MICHAEL SAPP, INDIVIDUALLY AND D/B/A INSURANCE SERVICES,
Appellees



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&nbsp;

On Appeal from the 190th District Court 

Harris County, Texas



Trial Court Cause No. 2008-08861B

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MEMORANDUM OPINION

Appellants have filed a motion to dismiss the
appeal.&nbsp; No opinion has issued.&nbsp; Accordingly, we grant the motion and dismiss
the appeal.&nbsp; See Tex. R. App. P.
42.1(a)(1).

We dismiss all other pending motions as moot.&nbsp; We direct the Clerk to issue the mandate
within 10 days of the date of this opinion.&nbsp;
See Tex. R. App. P. 18.1.

PER CURIAM

Panel
consists of Justices Jennings, Alcala and Sharp.





